                     Case 2:07-cr-00212-MEF-WC Document 99 Filed 06/15/10 Page 1 of 4
    A0 245D (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                         Middle District of Alabama
           UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                               V.                                         (For Revocation of Probation or Supervised Release)



        CATORIE VERKESHA ANDERSON                                         Case No.           2 :07CR2 1 2-MEF
                                                                                             12300-002
                                                                                                       Donnie Bethel
                                                                                                     Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)            I and 2 of violations report       of the term of supervision.
0 was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number               Nature of Violation                                                                  Violation Ended

                               New Law Violations - Fraudulent Use of a Credit Card and Theft                       4/18/2010
                               of Property
2                              Failure to Pay Special Assessment Fee and Restitution                                4/18/20 10



       The defendant is sentenced as provided in pages 2 through               4        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)                                 and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8271                                                     .1TITAIU$

Defendant's Year of Birth:          1977

City and State of Defendant's Residence:
                 Montgomery, Alabama

                                                                                                   Name and Title of Judge



                                                                                                                 Date
                  Case 2:07-cr-00212-MEF-WC Document 99 Filed 06/15/10 Page 2 of 4
 AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

                                                                                                    Judgment - Page   2   of    4
 DEFENDANT:                   CATORIE VERKESHA ANDERSON
 CASE NUMBER:                 2:07CR212-MEF-01


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:

Six (6) months.




         The court makes the following recommendations to the Bureau of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
         Oat ___________________ 0 a.m. 0 p.m. on ______
         o as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         0 before 2 p.m. on ___________________________
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                          to
at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                             DEPUTY UNITED STATES MARSHAL
                   Case 2:07-cr-00212-MEF-WC Document 99 Filed 06/15/10 Page 3 of 4
AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
                                                                                                   Judgment—Page      3     of        4
DEFENDANT:   CATORIE VERKESHA ANDERSON
CASE NUMBER: 2:07CR212-MEF-0l
                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Three (3) years.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
    or is a student, as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
                  Case 2:07-cr-00212-MEF-WC Document 99 Filed 06/15/10 Page 4 of 4
AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release
                                                                                                  Judgment—Page      4        of   4
DEFENDANT:     CATORIE VERKESHA ANDERSON
CASE NUMBER: 2:07CR212-MEF-01

                                           SPECIAL CONDITIONS OF SUPERVISION

Defendant shall reside in a residential reentry center (RRC) maintained or under contract to the Federal Bureau of Prisons for a term
of six months and shall comply with the rules of that facility. This term shall begin immediately upon release from custody of the
Federal Bureau of Prisons.
Defendant shall pay the balance of any restitution due in this case at a rate of not less than $100.00 monthly to commence 60 days
after defendant's release from imprisonment.
Defendant shall provide the probation officer access to any requested financial information.
Defendant shall not incur new credit charges or open additional lines of credit without approval of the probation officer unless
defendant is in compliance with the payment schedule.
Defendant shall obtain and maintain full-time verifiable employment.
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this Court.
Defendant shall apply any future income tax refund, state, federal or otherwise, towards an unpaid balance remaining on her
assessment fee and restitution.
